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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
CURRY, et al.,

                                Plaintiffs,

       -v-
                                                             CIVIL ACTION NO.: 20 Civ. 6985 (LTS) (SLC)

                                                                                ORDER
P&G AUDITORS AND CONSULTANTS, LLC, et al.,

                                Defendants.



SARAH L. CAVE, United States Magistrate Judge.

       The parties appeared for an Initial Case Management Conference this morning (see ECF

No. 74) concerning their Report of Rule 26(f) Conference and Proposed Case Management Plan.

(ECF No. 94).

       The Court rules as follows:

       1) The deadline for the completion of all fact discovery is Thursday, September 30, 2021.

             Within this time period, the parties shall initially (that is, for three months from the

             date of this order) focus discovery on information related to and the depositions of

             the three named-Plaintiffs: Kenneth Curry, Ricardo Mazzitelli, and Jacqueline Brown

             Pilgrim.

       2) A Telephone Status Conference is scheduled for Thursday, May 27, 2021 at 11:00 am

             on the Court’s conference line. The Court will set further discovery and case

             management deadlines, including interim deadlines, at this conference. The parties

             are directed to call: (866) 390-1828; access code: 380-9799, at the scheduled time.

       3) The parties do not consent to trial before a Magistrate Judge. (ECF No. 94 at ¶ 12(c)).
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Dated:         New York, New York
               February 26, 2021
                                             SO ORDERED

                                             _________________________
                                             SARAH L. CAVE
                                             United States Magistrate Judge




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